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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

AYDE MENA AMARO, et al., 16-CV-7704
Plaintiffs, STIPULATION AMENDING
SETTLEMENT AGREEMENT
-against-

UNAK GROCERY CORP. (D/B/A Liberty
Café), et al.

Defendants.

 

 

IT IS HEREBY STIPULATED and agreed, by and between the undersigned attorneys for the
parties, pursuant to Paragraph 5 Release and Covenant Not To Sue of the agreed-upon Settlement and
General Release (“Agreement”) in this matter, that the Agreement is modified as follows:

e Paragraph 5 of the agreement shall be amended to read as follows:

“Release and Covenant Not To Sue:

Release and Covenant Not To Sue: Plaintiffs knowingly and voluntarily release
and forever discharge Defendants of and from any and all claims at issue in this
action, whether known or unknown, asserted or unasserted, arising up to and as of
the date of the execution of this Agreement, which Plaintiffs have or may have
against Defendants, and also covenants not to file any claim or suit alleging a
violation of any federal or state wage and hour laws including, but not limited to,
the Fair Labor Standards Act and the New York Labor Law.

Date: New York, New York
June 14, 2019

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